Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 1 of 30


                                                             EXHIBIT B




          PARK RULES
      DISCOVERY GREEN
             Discovery Green Conservancy




                          Effective July 17, 2014
 Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 2 of 30
INTRODUCTION                          DISCOVERY GREEN PARK RULES
                                                                              July 17, 2014

0. 1     The Discovery Green Conservancy has been charged with developing rules and
regulations governing use of Discovery Green (Park Rules) to maintain a safe environment
for the general public, to protect the Park from damage, to provide opportunities for
conventions and tourism, and to ensure equitable access to the Park for Houstonians and
visitors. The Park Rules are described in detail in the following four sections. Summaries
of the Park Rules are posted at entries and within the Park. Exhibits may be requested
from Discovery Green using the Contact Us link on the website.

0.2    TABLE OF CONTENTS

       1.0    GENERAL
       1.1    Administration Of Rules
       1.2    Definitions
       1.3    Equal Opportunity
       1.4    Compliance With Park Rules

       2.0    GENERAL PARK RULES
       2.1    General Use Rules
       2.2    Park Operating Hours
       2.3    Rules for Park Facilities

       3.0    SPECIAL USES AND PERMITS
       3.1    Permits Generally
       3.2    Licensed Uses
       3.3    Public Gatherings
              Exhibit 3.1: Licensed Use Areas
              Exhibit 3.2: Public Gathering Areas and Speakers Corner

       4.0    FEE ADMINISTRATION
       4.1    Park User Fees – General
       4.2    Refunds
              Exhibit 4.1: Venue License Fees


0.3    SUMMARY OF GENERAL USE RULES
Abbreviated versions of the Park Rules are provided on the following pages. These rules
can be found on signs at entries to Discovery Green. These abbreviated rules only
summarize the Park Rules, and for a full understanding of the Park Rules, please review
Sections 1 through 4. Capitalized terms used herein shall have the meanings set forth in
Section 1.2.




                                Introduction, Page 1 of 5
 Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 3 of 30
INTRODUCTION                          DISCOVERY GREEN PARK RULES
                                                                           July 17, 2014


WELCOME: The Information Board (at ? symbol) has a Park Map showing:
Schedule and location of activities and events
Areas and times when field sports are allowed
Bike riding & rollerblading route (speed limit 10 MPH)
Speakers corner

PARK RULES
Complete Park Rules and permit forms are available at the Alkek Building or
discoverygreen.com.
In Spanish: Park Rules in Spanish are at the Information Board (at ? symbol)
In Vietnamese: Park Rules in Vietnamese are at the Information Board (at ? symbol)

Discovery Green is closed 11:00 PM – 6:00 AM unless posted

Visitors must comply with directions from Park Personnel

A permit is required to:
Accommodate functions involving groups of 20 or more
Use amplified/electronic sound devices
Sell or promote food, drinks, merchandise or services
Exhibit or perform to derive revenue
Conduct commercial photography or video; consent of a child’s parent required
Use any park area for a special use
Operate a motor vehicle or ride a horse

Pet owners:
Pets must be leashed except in dog runs
You must pick up and dispose pet waste

Park Rules prohibit:
Activities that disrupt the use of the Park by others
Reckless behavior and excessive noise
Using areas posted as reserved or closed
Littering
Foisting a handbill without consent of a Park Patron
Outdoor cooking or fires
Glass bottles or containers
Alcohol outside restaurants or permitted events
Entering flower beds or picking flowers
Possession of weapons or firearms
Smoking
Injuring wildlife or feeding birds
Posting bills or verbal commercial solicitations
Using a bench so as to interfere with its use by others
Camping or using a bench to store materials
Skateboarding
Bathing in water features
Leaving minors (children) unsupervised
Indecent exposure and public lewdness
Obscene, abusive, insulting or threatening language




                                Introduction, Page 2 of 5
 Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 4 of 30
INTRODUCTION                          DISCOVERY GREEN PARK RULES
                                                               July 17, 2014

Posted at Dog Runs
Dog owners must remain with dog
Time limit of 45 minutes for each dog
Owners must pick up after their dogs
Dogs must exhibit current license and vaccination tags
Children must be with an adult

No reckless play or fighting
No spiked collars
No dogs in heat
Dogs taller than 15 inches must use the large dog run
Dogs shorter than 15 inches must use the small dog run



‹ Large Dogs
  Small Dogs ›

Posted at Gateway Fountain
No running
No dogs
No balls or other toys
No towels on trees
No food, drinks or smoking
Adults must be accompanied by a child age fourteen or under
Access for adults may be restricted for safety
Do not sit on or near fountain jets
Exit fountain if directed by Park Personnel
No fighting or reckless behavior

Posted at Lake
Caution!
Do not enter lake

Do not throw objects in water
No dogs in water or on lake edge
No boating except model boats
No fishing except with permit from Discovery Green




                               Introduction, Page 3 of 5
 Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 5 of 30
INTRODUCTION                          DISCOVERY GREEN PARK RULES
                                                                            July 17, 2014

Posted at Outdoor Reading Room and HPL Express
The following activities are prohibited:

More than two bags of any type; no spreading of contents of bags
Any item that could be used as a weapon including sporting equipment
Distribution of printed materials in the HPL Express not in accordance with HPL Express
regulations
Distribution of printed materials in the Powell Outdoor Reading Room not in accordance
with Park rules
Loud speech, noises or music
Smoking, alcohol, food and beverages
Entering without a shirt or shoes and offensive body odors
Sleeping, putting feet/legs on furniture
Abuse of furniture or HPL Express equipment
Taking library materials into restrooms
Use of HPL Express materials without properly checking them out
Adults not with their child from 3 – 5 PM in the Powell Outdoor Reading Room
Using the seating and furniture in the Powell Foundation Reading Room for any purpose
other than reading, use of computers, table games and educational workshops unless
otherwise posted.

Posted at The Grove and the Lake House
The following activities are prohibited:

Any use not related to consumption of food and drink purchased at the facility
Consumption of food and drink purchased elsewhere
Any item that could be used as a weapon including sporting equipment
More than two bags of any type; no spreading of contents of bags
No smoking in interior or exterior areas
Wet clothing, bare feet and bare torsos
Music except as provided by the facility
Loud speech of any kind
Abuse of furniture and climbing or playing on rails
Verbal solicitations for money or donations or distribution of printed materials
Offensive bodily hygiene
Any animals, except animals assisting persons with disabilities
Restaurant restrooms are for use by restaurant patrons only
Exiting the Lake House without discarding refuse or uneaten food
Exiting with alcohol except from the Lake House to an amphitheater performance

Posted at Monument au Fantome Artwork on Avenida de las Americas
Please respect the art – no climbing

Posted at Mist Tree and Colored Box Artworks
Danger!
No climbing




                               Introduction, Page 4 of 5
 Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 6 of 30
INTRODUCTION                          DISCOVERY GREEN PARK RULES
                                                                July 17, 2014

Posted at Restrooms
May only be used for their intended purpose and without delay
No bathing allowed
See Park Office at Alkek Building if doors are locked


Posted at Playground
Children age 12 and under only
No dogs
Adults must be with a child
No food, drinks or smoking
No bikes, rollerblades or skates
No coolers or chairs
Playground access may be restricted for safety
Playground may not be reserved
No fighting or reckless behavior




                               Introduction, Page 5 of 5
Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 7 of 30
SECTION 1 – GENERAL                  DISCOVERY GREEN PARK RULES
                                                                            Effective July 17, 2014



1.      PARK RULES – GENERAL
Refers to the overall structure and application of rules, regulations, provisions, and
guidelines (Park Rules) promulgated by the Park Director (Director) of the Discovery
Green Conservancy (Conservancy) for the government and administration of Discovery
Green (Park).

1.1    ADMINISTRATION OF RULES
Refers to the authority, structure and interpretation of Park Rules.

       1.1.1 POLICY OF THE CONSERVANCY
       It is the policy of the Conservancy to prescribe rules, regulations and guidelines
       (Park Rules) for the orderly use and management of the Park, Park Areas, Park
       Facilities and Programs.

       1.1.2 AUTHORITY OF THE DIRECTOR
       The Director shall from time to time promulgate written Park Rules for the
       administration of the Conservancy, and for the orderly government of the Park.

       1.1.3 STRUCTURE AND CAPTIONS
       The structure and captions of the several Divisions, Sections, and Sub-sections of
       these Park Rules are not part of the context hereof, and are intended only as aides
       in locating, reading and understanding the provisions herein. For the purposes of
       these Park Rules, only those provisions or parts thereof numbered to include a
       decimal point shall be considered to be a rule or regulation.

       1.1.4 APPLICABILITY
       Each rule, regulation or provision contained herein may be applicable, in whole or
       in part, to the Park, Park Area, Park Facility, Program, Event or Activity.

       1.1.5 EFFECT ON EXISTING LAW
       These Park Rules are in addition to, and not in lieu of, any Federal or State laws,
       rules or regulations, or any City of Houston Ordinances.

       1.1.6 SUBORDINATE RELATIONSHIP
       These Park Rules, and the provisions thereof, shall be subordinate and inferior to
       the provisions of all laws, rules, regulations and ordinances promulgated by higher
       authority.

       1.1.7 SEVERABILITY
       The provisions of these Park Rules are severable. If any word, phrase, clause,
       sentence, section, provision or any other part of these Park Rules should be held
       invalid or unconstitutional, it shall not affect the validity of the remaining provisions.

       1.1.8 NONWAIVER
       It is the intent of the Conservancy to operate under these Park Rules as
       consistently as possible; however, neither a failure of the Conservancy or its
       officers to exercise any of these Park Rules, nor a failure to enforce such
       provisions, shall effect or constitute a waiver of the Conservancy’s or Director’s
       right to exercise or enforce such Park Rules.




                                   Section 1, Page 1 of 5
Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 8 of 30
SECTION 1 – GENERAL                  DISCOVERY GREEN PARK RULES
                                                                        Effective July 17, 2014

       1.1.9 PUBLIC INSPECTION OF RULES REQUIRED
       A copy of these Park Rules shall be filed and maintained for public inspection in
       the offices of the Director. A copy of all or any part of the provisions contained in
       these Park Rules shall be made available to any person at no cost upon written
       request filed at Conservancy headquarters.

1.2    DEFINITIONS
Refers to the definition of general and specific terms found throughout these Park Rules.

       1.2.1 DEFINITIONS GENERALLY
       To aid in writing and interpreting these Park Rules, a rule incorporating general
       definitions of terms found throughout these provisions shall be promulgated
       therefore. Additional definitions specific to provisions found in the divisions,
       sections or sub-sections of these Park Rules may appear elsewhere herein.

       1.2.2 DEFINITION OF GENERAL TERMS
       The following definitions shall apply to general terms throughout these Park Rules
       (whether or not capitalized as used throughout these Park Rules):

          (a) ACTIVITY shall mean any part of a Program or Event or a function thereof;

          (b) ADULT shall mean any person eighteen (18) years of age or older.

          (c) AREA shall mean any area of the Park, facility or part thereof;

          (d) BUSINESS DAY shall mean the standard operating hours for the
          Conservancy which are Monday through Friday from 8:30 A.M. to 5:30 P.M.
          non-inclusive of approved City Holidays;

          (f) CAMPSITE shall mean (1) any location used for more than two hours to place
          or store materials and/or clothing of sufficient quantity to allow a person or
          persons to remain in the Park for more than eight hours; and (2) a location that
          includes tables and/or tents brought into the park for personal use;

          (g) COMMERCIAL USE shall mean the use of any Park Facility or Area for the
          purpose of selling, distributing, promoting or advertising products or services;

          (h) CONSERVANCY shall mean the Discovery Green Conservancy;

          (i) CONSERVANCY HEADQUARTERS shall mean the administrative office of
          the Conservancy located at 1500 McKinney Street, Houston, Texas, 77010;

          (j) DIRECTOR shall mean the Park Director of the Discovery Green
          Conservancy;

          (k) EVENT shall mean any celebration, activity or gathering open to the public
          or certain members of the public and which involves the use of a Park Area or
          Park Facility;

          (l) LICENSED USE shall mean a Special Use of any Park Area or Park Facility
          by any person, group, organization or other entity if such usage includes (1) the
          sale or distribution of food, drink or merchandise; (2) amplified music or
          entertainment; (3) admission fees or other charges to attendees; (4) sale or
          promotion of commercial products or services; (5) (see next page)


                                  Section 1, Page 2 of 5
Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 9 of 30
SECTION 1 – GENERAL                  DISCOVERY GREEN PARK RULES
                                                                     Effective July 17, 2014

           exhibition of products or artwork; or (6) performances for the primary
           purpose of entertaining an audience.

           (o) MINOR shall mean persons who are under the age of fourteen (14);

           (n) NON-PROFIT shall mean a Park User designated as a charitable
           nonprofit under one or more sections of the U.S. Internal Revenue Service
           (I.R.S.) Code, a governmental entity, or any person or group of persons not
           engaged in Commercial Use of the parks;

           (o) NON-RESTRICTED USE shall mean use of the Park where general
           public participation is a function of the intended Special Use, that does not
           involve commercial promotion or use, and where the Special Use does not
           prevent or curtail the general public from using any area of the Park.

           (p) PARK shall mean DISCOVERY GREEN park, a dedicated public park
           owned by the Houston Downtown Park Corporation and operated under
           contract by the Conservancy;

           (q) PARK AREA shall mean any part of the Park;

           (r) PARK FACILITY shall include, but not necessarily be limited to, any
           building, pavilion, lawn, picnic area, playground, amphitheatre, deck,
           walkway, trail, garden, lake, monument, artwork, fountain, or other
           improved Park Area;

           (s) PARK PATRON or VISITOR shall mean any person utilizing the Park
           or any portion thereof for the purpose of recreational and/or leisure pursuit;

           (t) PARK USER shall mean any person, group, organization or other entity
           seeking or engaged in a Special Use of a Park Area or Park Facility;

           (u) PERMIT shall mean written approval of the Director allowing Special
           Use of a Park Area or Park Facility;

           (v) PROGRAM shall mean a series of Activities or Events designed to
           provide recreational, cultural, educational, convention, leisure or other
           opportunities to the public;

           (w) PUBLIC GATHERING shall mean a Special Use involving the
           congregation of twenty (20) or more people within a Park Area or Park
           Facility during a specified time period that does not involve (1) the sale or
           distribution of food, drink or merchandise; (2) amplified music or
           entertainment; (3) admission fees or other charges to attendees; (4) sale
           or promotion of commercial products or services; (5) exhibition of products
           or artwork; or (6) performances for the primary purpose of entertaining an
           audience.

           (x) RESTRICTED USE shall mean any Special Use that could (1) curtail
           general public use of the Park, Park Areas and/or Park Facilities; (2) involve
           or contemplate Commercial promotion or use of the Park;               and (3)
           contemplate or involve temporary displays of public art.

           (y) SENIOR or SENIOR CITIZEN shall mean any person sixty-five (65)
           years of age or older;

                              Section 1, Page 3 of 5
Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 10 of 30
SECTION 1 – GENERAL                   DISCOVERY GREEN PARK RULES
                                                                         Effective July 17, 2014



             (z) SPECIAL USE shall mean the granting of additional, extra, special
             and/or exclusive privileges to use a Park Area and/or Park Facility for the
             purpose of conducting Public Gatherings, Restricted Uses (events, fund
             raising activities, meetings, other functions), Non-Restricted Uses, or
             Licensed Uses;

             (aa) SPECIAL USE AREA shall mean any Park Area, Park Facility or part
             thereof for which Special Use privileges have been granted (in the case of
             Licensed Uses, also called the venue or venue license area);

             (bb) USER FEE shall mean fees and rates charged for a Special Use of a
             Park Area or Park Facility, including use of any portion of the Park for public
             or private events (in the case of Licensed Uses, also called venue license
             fees); rental of fencing, chairs and other items; and fees for services
             provided by the Conservancy;

             (cc) VEHICLE shall mean any equipment, craft or object designed or able
             to transport humans or materials with or without power except for bicycles
             and rollerblades;

             (dd) YOUTH shall mean any person under the age of eighteen (18) years.

1.3     EQUAL OPPORTUNITY
Refers to the rules providing equal opportunity in employment and the provision of
recreational opportunities.

      1.3.1 EQUAL EMPLOYMENT OPPORTUNITY
      It shall be the policy of the Conservancy to prohibit discrimination in employment
      on the basis of race, color, creed, religion, sex, age, military status, handicap or
      national origin.

      1.3.2 EQUAL OPPORTUNITY IN SERVICE DELIVERY
      It shall be the policy of the Conservancy to prohibit discrimination in the delivery of
      recreational services, and in the use of the Park, because of race, color, creed,
      religion, gender, age, military status, handicap or national origin.

      1.3.3 PROGRAM DIVERSITY
      In the development, sponsorship and/or promotion of activities, programs or
      events, the Conservancy shall strive to provide a level of such activities, programs
      or events which illustrate and complement the ethnic and cultural diversity of the
      City of Houston.

      1.3.4 NOTIFICATION OF EQUAL OPPORTUNITY In all publications of the
      Conservancy relating to employment with the Conservancy, one (1) of the following
      notices of non-discrimination shall be appropriately displayed: “It is the policy of
      the Discovery Green Conservancy to prohibit discrimination in employment or in
      the provision of services because of race, color, creed, religion, gender, age,
      handicap or national origin”, or “An equal opportunity employer and service
      provider”.

      1.3.5 RESPONSIBILITY FOR MONITORING, COMPLIANCE
      The Director shall have the responsibility to monitor and ensure compliance with
      the equal opportunity provisions of these Park Rules.


                                 Section 1, Page 4 of 5
Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 11 of 30
SECTION 1 – GENERAL                   DISCOVERY GREEN PARK RULES
                                                                       Effective July 17, 2014

1.4    COMPLIANCE WITH PARK RULES
Refers to the overall compliance with the Park Rules, and the exemptions thereto.

       1.4.1 COMPLIANCE IS A CONDITION OF USE
       Compliance with applicable provisions of these Park Rules, the Code of the City
       of Houston, and State and Federal law is a condition of the use of the Park. Subject
       thereto, any person may use the Park for any lawful purpose.

       1.4.2 ENFORCEMENT
       The Director, all other employees of the Conservancy, and authorized agents of
       the Conservancy are hereby individually and severally authorized and directed on
       behalf of the Conservancy to notify any person who fails or refuses to comply with
       any applicable provision of law or of these Park Rules to depart from the Park. Any
       such person who upon such notice fails to depart from any such property or
       building shall be subject to removal from the Park and/or prosecution under any
       applicable laws or ordinances.

              1.4.2(a) FAILURE OF EMPLOYEES TO ENFORCE RULES OR LAWS
              No employee of the Conservancy with responsibility for ensuring
              compliance with these Park Rules or other applicable provisions of law
              shall knowingly or willfully fail to exercise such responsibility. Any such
              employee shall be subject to disciplinary action up to and including
              indefinite suspension.

       1.4.3 EXEMPTIONS GENERALLY
       The provisions of these Park Rules shall not be construed to apply to employees
       of the Conservancy, its agents or contractors, when in the lawful and appropriate
       discharge of their respective duties.

              1.4.3(a) CONSERVANCY PROGRAMS AND EVENTS
              The permit and facility use requirements incorporated as provisions hereof
              shall not be required for programs, events or activities sponsored by the
              Conservancy.

              1.4.3(b) MISREPRESENTATION OF EMPLOYEES
              No employee of the Conservancy shall knowingly or willfully misuse his/her
              position in the Conservancy to elicit, accomplish or obtain an exemption
              from these Park Rules for any personal gain or use of the parks. Any such
              employee shall be subject to disciplinary action up to and including
              indefinite suspension.




                                 Section 1, Page 5 of 5
   Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 12 of 30

SECTION 2 – GENERAL RULES                                 DISCOVERY GREEN PARK RULES
                                                                                 Effective July 17, 2014

2.0    PARK USE – GENERAL PARK RULES
Refers to the general rules and regulations governing the operation and use of the Park.

2.1    GENERAL USE RULES
Refers to the general provisions regulating use of the Park, Park Area(s) and/or Park Facility(ies).

       2.1.1 PARK USE GENERALLY
       No person shall use any Park Area or Park Facility for any purpose other than for the
       purpose for which it was designed, dedicated or for which a Special Use permit has been
       granted.

       2.1.2 SPECIAL USE GENERALLY
       No person shall hold, conduct or cause to occur any Special Use of the Park, Park Area
       or Park Facility without first obtaining the written permission of the Director. See Section
       3.0.

       2.1.3 SPECIAL PARK AREAS GENERALLY
       No person shall visit, use or otherwise be within or upon any Area designated for Special
       Use outside the posted hours of operation without the written permission of the Director,
       nor shall any person during such posted hours be within or upon such Park Area or Park
       Facility without first paying any applicable User Fees and/or securing any required permits
       related thereto.

       2.1.4 CONCESSIONS AND SALES GENERALLY
       No person shall have the right to offer anything for sale or barter, or to exhibit anything, or
       to conduct any amusement, recreational activity, sports event, or other business for which
       any participation or admission fee is charged or revenue is otherwise derived within any
       Park Area or Park Facility without first obtaining the written permission of the Director.

       2.1.5 PLAYING OF MUSICAL DEVICES
       No person shall play any musical instrument, radio, tape player or other musical device
       within the Park other than for his/her own enjoyment, provided that such person shall not
       thereby encroach upon the use and enjoyment of the Park by others.

       2.1.6 GLASS CONTAINERS PROHIBITED-EXCEPTION
       No person shall bring into or upon the Park, or have in his/her possession while therein or
       thereupon any glass receptacle including but not limited to glass bottles, glass jars,
       drinking glasses or other glass containers of any kind. The prohibition of glass containers
       shall not apply to baby bottles, baby food jars, glass lined vacuum bottles and glass lined
       picnic beverage coolers.

       2.1.7 LITTER AND MISUSE OF RECYCLING CONTAINERS PROHIBITED
       No person shall throw or otherwise dispose of any trash or litter in the Park except in the
       containers provided therefore, and no person shall misuse a container designated for
       specific recycled materials by placing other types of materials in said container or by
       retrieving items already deposited in said container.




                                      Section 2, Page 1 of 9
  Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 13 of 30

SECTION 2 – GENERAL RULES                              DISCOVERY GREEN PARK RULES
                                                                              Effective July 17, 2014

     2.1.8 DUMPING PROHIBITED
     No person shall dump any debris, junk, garbage, waste, fill or other material onto the Park.

     2.1.9 CAMPING PROHIBITED
     No person shall establish a Campsite upon or use any Area of the Park as a Campsite
     without the written permission of the Director.

            (a) MATERIALS STORAGE ON OR NEAR BENCHES
            No person shall use a bench or an area near a bench to store materials in a manner
            that interferes with usage of said bench by others.

     2.1.10 BUILDING OF FIRES PROHIBITED
     No person shall build or cause to be built any fires within the Park, including in camp
     stoves or grills, without a permit from the Director. Such permit shall only be granted for
     Special Uses that include monitoring of such fires.

     2.1.11 FIREWORKS PROHIBITED
     No person shall discharge any fireworks upon or within the Park. Bonafide fireworks
     displays proposed as part of an Event or Activity shall be exempt from this provision
     subject to the written permission and approval of the Director and the City Fire Marshall.

     2.1.12 HOT AIR BALLOONS PROHIBITED
     No person shall tether any hot air balloon in the Park nor launch any hot air balloon from
     within the Park without first obtaining the written permission of the Director. The evaluation
     of a request to launch a hot air balloon(s), among other criteria, shall include the licensing
     and flight approval of the Federal Aviation Administration (F.A.A.).

     2.1.13 FLYING OF KITES, RADIO CONTROLLED DEVICES RESTRICTED
     No person shall fly any kite, radio controlled airplane or similar device within the Park.

     2.1.14 AMUSEMENT RIDES PROHIBITED
     No person shall erect or operate any mechanical amusement rides, midway rides or
     similar apparatus within the Park without first obtaining the written permission of the
     Director.

     2.1.15 VEHICLES IN PARKS GENERALLY
     No person shall drive, propel, use, stop or park any Vehicle over or through the Park
     without a permit from the Director.

            (a) VEHICLES-EXCEPTION
            The provisions related to vehicles herein shall not apply to golf carts and other
            Vehicles operated by the Conservancy, its agents or concessionaires.

     2.1.16 RIDING OR DRIVING ANIMALS
     No person shall ride or drive any horse or other animal over or through the Park unless
     approval has been received from the Director as part of a Program, Activity or Event.

     2.1.17 MOLESTING, INJURING, ETC., ANIMALS, FOWL OR FISH – PROHIBITED
     No person shall tease, annoy, molest, catch or throw any stone, object or missile of any
     kind at, or strike with any stick, object or weapon, any animal in the Park.



                                   Section 2, Page 2 of 9
  Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 14 of 30

SECTION 2 – GENERAL RULES                              DISCOVERY GREEN PARK RULES
                                                                              Effective July 17, 2014



     2.1.18 GAMBLING, GAMES OF CHANCE PROHIBITED
     No person shall gamble, or conduct or operate any bingo, lottery or other games of chance
     within the Park.

     2.1.19 DISTRIBUTION OF ALCOHOLIC BEVERAGES RESTRICTED
     No person shall sell, give away or otherwise distribute any alcoholic beverage, as defined
     by the Texas Alcoholic Beverage Code, on or within the Park unless authorized by
     agreement, or through a permit issued by the Director. In considering any permit request
     pertaining to alcoholic beverages, the Director shall evaluate the purpose of the permit
     request, the location of the proposed activity, and the likelihood of any adverse impact of
     distributing such beverages. Approval of the Director to distribute or sell alcoholic
     beverages shall be conditional to any permit approvals, licensing requirements or
     restriction of the Texas Alcoholic Beverage Commission (T.A.B.C.).

     2.1.20 ALCOHOLIC BEVERAGES PROHIBITED
     No person shall consume or display any alcoholic beverage except in designated areas
     at restaurants and in Special Use areas covered by a permit for alcohol consumption.

     2.1.21 ERECTING STRUCTURES, BILL POSTING, ETC. PROHIBITED
     No person shall place, erect or attach any structure, sign, bulletin board, post, pole or
     advertising device of any kind whatever in the Park, or attach any notice, bill, poster, sign,
     wire, rod or cord to any tree, shrub, fence, railing, post or structure in the Park unless
     authorized by special permit issued by the Director.

     2.1.22 HANDBILL DISTRIBUTION
     No person or bill distributor shall hand to or foist upon any Park Patron or Park User a
     handbill without the consent of such Park Patron or Park User, nor shall any bill distributor
     thereby encroach upon the use and enjoyment of the Park by others.

     2.1.23 WALKING, STANDING OR SITTING ON BORDERS, FLOWER BEDS, ETC.
     PROHIBITED
     No person shall walk, stand or sit on or in any border, flower bed, monument, vase,
     fountain, railing or fence in the Park unless it is clearly designed or designated for such
     purpose.

     2.1.24 REMOVAL OF PLANTS, TREE CUTTING PROHIBITED
     No person shall remove or cut any flower, shrub, vine, tree or other plant in the Park
     without the written permission of the Director.

            (a) PLANTING OF TREES, PLANTS RESTRICTED
            No person shall plant any flower, shrub, tree or other plant in the Park nor plant
            any street tree without the written permission of the Director.

     2.1.25 POSSESSION OF WEAPONS PROHIBITED
     No person shall enter the park with a weapon of any kind, concealed or open carry.

     2.1.26 FISHING PROHIBITED-EXCEPTION
     No person shall fish within the Park without a permit from the Director, which shall only be
     granted for Events for which water quality, health and safety considerations have been
     addressed; and no person shall introduce fish or wildlife into any Park Area.


                                   Section 2, Page 3 of 9
  Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 15 of 30

SECTION 2 – GENERAL RULES                              DISCOVERY GREEN PARK RULES
                                                                             Effective July 17, 2014

     2.1.27 PLAYING OF FIELD GAMES RESTRICTED
     No person shall play any game of football, soccer, golf, cricket, lacrosse, polo, hockey,
     volleyball or other game of like character in the Park except on dates and times that
     specific Park Areas have been posted for such use. Baseball and softball are prohibited
     at all times.

     2.1.28 CANOEING OR BOATING RESTRICTED
     No person shall place any canoe, raft, boat or other vessel of any type or description upon
     the waters of any lake, pond or pool in the Park except with a permit from the Director.
     This provision shall not apply to model or toy boats that are not designed or intended for
     human transportation and that are used in the designated area of Kinder Lake.

     2.1.29 DOGS OR OTHER ANIMALS IN PARK BUILDINGS, FACILITIES PROHIBITED
     No person having control over a dog, or any other animal, shall bring such animal into any
     Park building interior. This provision shall not apply to any dog or animal assisting persons
     with disabilities, or to a dog or other animal brought into a Park building under a permit
     issued by the Director.

     2.1.30 SUPERVISION OF MINORS
     Minors (children under the age of fourteen (14)) shall be accompanied by at least one (1)
     of their parents who has reviewed, become familiar with, and is willing to comply and
     cause Minors accompanying them to comply with the Park Rules. Minors may participate
     in an organized Activity for up to two (2) hours without a parent if the Activity includes
     supervision by an Adult employed to oversee the Activity and a requirement that the Minor
     sign in to participate.

     2.1.31 NO SKATEBOARDING
     Use of skateboards is prohibited in any Area of the Park.

     2.1.32 SWIMMING AND BATHING
     The following Park Rules apply to water features:
             (a) No person or dog may enter Kinder Lake or the gardens immediately adjacent
                 to Kinder Lake, and no dog may enter other water features.
             (b) Persons may enter the Mist Tree area and Gateway Fountain; however, such
                 persons must be wearing street clothing, swimming suit or pool diapers.
             (c) Running, toys, balls, other games and blocking water jets are prohibited in or
                 near water features.
             (d) Food, drinks and smoking are prohibited where posted in areas near water
                 features.
             (e) No towels or other belongings may be draped or hung on trees.
             (f) Adults entering the Gateway Fountain or Mist Tree must be accompanied by a
                 child aged fourteen (14) or under. The Conservancy reserves the right to
                 restrict access to any water features in order to ensure public safety or the
                 safety of the water feature.
             (g) Entry into the H. John and Diane Riley Fountain is prohibited.

     2.1.33 CLIMBING
     Other than on specifically-designed playground equipment designed for children under the
     age of twelve (12), climbing on Park Facilities, features, equipment or artwork is strictly
     prohibited unless specifically posted.

     2.1.34 BIKE RIDING AND ROLLER-BLADING

                                   Section 2, Page 4 of 9
  Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 16 of 30

SECTION 2 – GENERAL RULES                             DISCOVERY GREEN PARK RULES
                                                                             Effective July 17, 2014

     Bicycle riding, roller-blading and use of similar wheeled equipment is prohibited except on
     Bike Routes the Conservancy shall post in the Park. The Conservancy reserves the right
     to further restrict all forms of non-motorized vehicles (inclusive of bicycles and roller
     blades) at any time and in any location in order to maintain public safety and the safety of
     Park Areas and Park Facilities. No vehicles are ever allowed outside of paved areas, nor
     are speeds in excess of ten (10) miles per hour allowed. Pedicabs are prohibited.

     2.1.35 DOG RUNS
     In addition to any laws and ordinances governing pets, dog owners must remain with their
     dogs even while their dog is off its leash in a dog run. All Minors must be accompanied
     by an Adult while in the dog runs, and gates must be closed after entry or exiting the dog
     runs. Dog owners must utilize the dog runs as specified by signs posted at the dog runs.

     2.1.36 PLAYGROUND
     Playground equipment and features are age-restricted with no child over age twelve (12)
     allowed to play in the playground. No food, drinks or smoking are allowed in the
     playground area, and no coolers, chairs, bicycles, rollerblades or other wheeled vehicles,
     except strollers, are allowed on the rubberized surface. In order to maintain public safety
     and the safety of the playground equipment, the Conservancy reserves the right to restrict
     access to persons and strollers during periods of heavy use, and the Conservancy may
     post additional rules for specific playground equipment at that equipment.

     2.1.37 PARK RESTROOMS
     The restrooms are reserved for the activities for which they were designed, and Park Users
     and Park Visitors must conduct such activities without delay. The Conservancy reserves
     the right to close restrooms at any time that maintenance of safe conditions requires.

     2.1.38 PHOTOGRAPHY
     All commercial photography, videography and film is a Special Use that requires a permit,
     and any amateur photography, videography and film that causes access by the general
     public to any Park Area or Park Facility to be restricted or curtailed is a Special Use and
     requires a permit.

            (a) Any professional or amateur photographer must have the consent of the parent
                of a Minor aged fourteen (14) or under prior to photographing the Minor.

     2.1.39 SPEAKERS CORNER
     The Conservancy shall post a designated “speakers corner” in the Park for members of
     the general public desiring to exercise their rights to free speech by engaging in public
     speaking. A group of speakers exceeding twenty (20) people is considered a Public
     Gathering, which requires a permit as described in Section 3.0 of these Park Rules. In
     the event that a member of the general public attempts to engage in public speaking in
     any other area of the Park without first obtaining a Special Use Permit which permits such
     individual to do so, such individual shall be required to move to the speakers corner and
     shall be ejected from the Park if he or she refuses to move to the speakers corner.
     Further, the Conservancy reserves the right to restrict an individual's use of the speakers
     corner and/or eject them from the Park to the extent he or she (1) uses fighting words,
     which are words that by their very utterance tend to incite an immediate breach of the
     peace; (2) threatens to physically harm others; (3) engages in obscene speech or conduct;
     or (4) utilizes audio amplification devices.

     2.1.40 RECKLESS BEHAVIOR

                                   Section 2, Page 5 of 9
     Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 17 of 30

 SECTION 2 – GENERAL RULES                                DISCOVERY GREEN PARK RULES
                                                                                Effective July 17, 2014

         Reckless behavior that endangers or has the potential to endanger the participants in such
         behavior or others using the Park is prohibited.

         2.1.41 MAINTENANCE OF SAFE CONDITIONS AND BEHAVIOR
         In order to maintain safe conditions and behavior in Park Areas and Facilities, all Park
         Users and Park Visitors shall comply with directions from Conservancy staff and security
         contractors.

         2.1.42 PUBLIC LEWDNESS AND INDECENT EXPOSURE
         Public lewdness and indecent exposure are prohibited in any area of the Park and in Park
         Facilities, and viewing material deemed to be obscene, child pornography, or harmful to
         minors, as those terms are defined in the Children’s Internet Protection Act and the Texas
         Penal Code.

         2.1.43 OBSCENE, ABUSIVE, INSULTING OR THREATENING LANGUAGE
         Fighting words, which are words that by their very utterance tend to incite an immediate
         breach of the peace, threats to physically harm others, and engagement in obscene
         speech or conduct are prohibited.

         2.1.44 STARING, STALKING OR HARRASSMENT
         Staring, stalking, harassment, or other behavior that reasonably can be expected to
         disturb others is prohibited.

         2.1.45 SMOKING
         Smoking is prohibited at Discovery Green.

         2.1.46 SAFETY AND SECURITY DEVICES
         Tampering with security or safety devices, including emergency call boxes and emergency
         telephones, is prohibited.

2.2      PARK OPERATING HOURS
Refers to the rules regulating Park, Park Area and Park Facility operating hours.

         2.2.1 OPERATING HOURS GENERALLY
         The Director shall establish operating hours for the Park, Park Areas and Park Facilities
         commensurate with a combination of patron usage and demand, safety requirements,
         design and function, deed restrictions, and budgetary, staffing and programming
         requirements. For Fiscal Year 2008 and until adjusted in the future, the operating hours
         shall be 6:00 AM to 11:00 PM except that operating hours for: (1) The Grove and The
         Lake House shall be established by the licensed operator of those restaurants; (2) the Bill
         and Sara Morgan Reading Room shall be established by its licensed operator; and (3)
         water features shall be established on a daily basis by the Conservancy.

         2.2.2 USE OUTSIDE OPERATING HOURS PROHIBITED
         No person shall visit, use or otherwise occupy, or be within or upon the Park, Park Area(s)
         and/or Park Facility(ies) outside their respective operating hours without the written
         permission of the Director.

         2.2.3 TEMPORARY CLOSURE, CHANGE IN OPERATING HOURS
         The Director may from time to time order the temporary closure or change in operating
         hours of the Park, Park Areas and/or Park Facilities. Such temporary closure or change
         in operating hours may be required as the result of renovation and construction projects,

                                       Section 2, Page 6 of 9
   Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 18 of 30

SECTION 2 – GENERAL RULES                                 DISCOVERY GREEN PARK RULES
                                                                                Effective July 17, 2014

       a safety, health or weather emergency, other operations situation, or special event, and
       shall not be considered a permanent change in operating hours unless such change is
       filed by rule.


2.3     PARK RULES FOR PARK FACILITIES
All Park Rules apply to the following Park Facilities; in addition; the specific Park Rules described
below apply to these Park Facilities.

       2.3.1 THE GROVE AND THE LAKE HOUSE
       The following Park Rules are in force at interior and exterior areas of The Grove and the
       Lake House.

               (a) Visitors must be patrons desiring to purchase and consume food or
                   beverages for sale at the facility.
               (b) Only food and beverages for sale at the facility are allowed to be consumed
                   at interior and exterior areas of the facility.
               (c) Bringing in any items that could potentially be used as weapons is prohibited,
                   including but not limited to sporting equipment such as baseball bats,
                   skateboards, etc.
               (d) Bringing in bedrolls, blankets, frame backpacks, suitcases, or bags
                   measuring more than two feet in length or height is prohibited. A maximum of
                   two bags of any type will be allowed.
               (e) Spreading out the contents of bags is prohibited. Unattended bags represent
                   a safety and security risk.
               (f) No smoking in any interior or exterior area of the facilities.
               (g) Shoes and shirts must be worn at all times; no wet clothing.
               (h) Music not provided by the facility is prohibited.
               (i) Loud speaking of any kind is prohibited.
               (j) Abuse of furniture and climbing or playing on rails are prohibited.
               (k) Any verbal or written solicitation for money or a donation except by
                   employees of the facility is prohibited.
               (l) Distributing or posting printed materials/literature is prohibited.
               (m) Offensive bodily hygiene is prohibited.
               (n) Animals are prohibited except animals assisting persons with disabilities.
               (o) Restaurant restrooms are for use by restaurant patrons only.
               (p) Exiting the Lake House without discarding refuse and uneaten food is
                   prohibited.
               (q) Exiting the facility with alcohol; however, patrons may exit the Lake House
                   directly to the amphitheater slope with alcohol if they are attending a
                   performance.


       2.3.2 BILL AND SARA MORGAN READING ROOM / HPL EXPRESS
       The following prohibitions are in force at Bill and Sara Morgan Reading Room / HPL
       Express.

               (a) Bringing in bedrolls, blankets, frame backpacks, suitcases, or bags
                   measuring more than two feet in length or height. A maximum of two bags of
                   any type will be allowed.
               (b) Bringing in any items that could potentially be used as weapons, including but
                   not limited to sporting equipment such as baseball bats, skateboards, etc.

                                      Section 2, Page 7 of 9
  Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 19 of 30

SECTION 2 – GENERAL RULES                              DISCOVERY GREEN PARK RULES
                                                                              Effective July 17, 2014

            (c) Distributing or posting printed materials/literature not in accordance with HPL
                Express regulations.
            (d) Viewing material deemed to be obscene, child pornography, or harmful to
                minors, as those terms are defined in the Children’s Internet Protection Act
                and the Texas Penal Code.
            (e) Spreading out the contents of bags. Unattended bags represent a safety and
                security risk.
            (f) Producing any loud, unreasonable or disturbing noises, including those from
                electronic or amplified devices.
            (g) Smoking or other tobacco use.
            (h) Possessing or being under the influence of alcohol or illegal drugs.
            (i) Eating, drinking or bringing in packaged or unpackaged food.
            (j) Not wearing shoes or a shirt.
            (k) Offensive bodily hygiene.
            (l) Sleeping or putting your head on a table (except for infants), and putting your
                feet or legs on furniture.
            (m) Abuse or vandalism of library facilities, materials or equipment.
            (n) Taking library materials into restrooms.
            (o) All library materials must be properly checked out. If library staff/security has
                reasonable individualized suspicion that a library patron is attempting to exit
                the library with library materials that have not been checked out, the patron
                may be questioned and may be asked to open any item of sufficient size to
                contain library materials for inspection.
            (p) Parents/guardians/caregivers are responsible for monitoring the activities and
                for regulating the behavior of their children while in the library. Children under
                the age of seven may not be left unattended at any time. Children between
                the ages of seven and fourteen should not be left unattended for extended
                periods of time or at closing time.


     2.3.3 POWELL OUTDOOR READING ROOM
     The following prohibitions are in force at the Powell Foundation Outdoor Reading Room.

            (a) Bringing in bedrolls, blankets, frame backpacks, suitcases, or bags
                measuring more than two feet in length or height. A maximum of two bags of
                any type will be allowed.
            (b) Bringing in any items that could potentially be used as weapons, including but
                not limited to sporting equipment such as baseball bats, skateboards, etc.
            (c) Distributing or posting printed materials/literature not in accordance with Park
                rules.
            (d) Viewing material deemed to be obscene, child pornography, or harmful to
                minors, as those terms are defined in the Children’s Internet Protection Act
                and the Texas Penal Code.
            (e) Spreading out the contents of bags on library property. Unattended bags
                represent a safety and security risk and may not be left on library property.
            (f) Producing any loud, unreasonable or disturbing noises, including those from
                electronic or amplified devices.
            (g) Smoking or other tobacco use.
            (h) Eating, drinking or bringing in packaged or unpackaged food.
            (i) Not wearing shoes or a shirt.
            (j) Offensive bodily hygiene.


                                   Section 2, Page 8 of 9
  Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 20 of 30

SECTION 2 – GENERAL RULES                           DISCOVERY GREEN PARK RULES
                                                                          Effective July 17, 2014

           (k) Sleeping or putting your head on a table (except for infants), and putting your
               feet or legs on furniture.
           (l) Abuse or vandalism of library facilities, materials or equipment.
           (m) Taking library materials into restrooms.
           (n) Adults being within the Powell Outdoor Reading Room while not
               accompanied by their child (aged seventeen (17) or younger) between the
               hours of 3:00 PM and 5:00 PM with the exception of adults passing through
               the Powell Outdoor Reading Room for the purpose of entering and exiting the
               HPL Express.
           (o) Using the seating and furniture in the Powell Foundation Reading Room for
               any purpose other than reading, use of computers, table games (chess,
               checkers, dominos, etc.) and educational workshops unless otherwise
               posted.




                                 Section 2, Page 9 of 9
   Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 21 of 30

 SECTION 3 – SPECIAL USES                               DISCOVERY GREEN PARK RULES
                                                                              Effective July 17, 2014

3.0    SPECIAL USES AND PERMITS
Refers to the permit process required to conduct Public Gatherings, Restricted Uses, Licensed
Uses, Non-Restricted Uses of the Park, Park Area(s) and/or Park Facility(ies), and other Special
Uses.

3.1    PERMITS GENERALLY
Refers to the general rules and regulations governing Special Use permits.

       3.1.1 SPECIAL USE PERMIT DEFINED
       Special Use permits shall be defined as the written authorization of the Director granting
       additional, extra, special and/or exclusive privileges to use the Park, Park Areas, or Park
       Facilities for an intermittent or temporary basis.

       3.1.2 SPECIAL USE PERMIT REQUIRED
       A Special Use permit shall be required prior to any use of the Park, Park Area or a Park
       Facility for the purpose of conducting special events, fund raising activities, Public
       Gatherings, commercial promotions and uses, programs, meetings, or any other function
       which impacts open and free recreational use of the Park by the general public and/or
       requires the rights for temporary exclusive use.

              (a)    SPECIAL USE PERMIT BY DEFINITION
              Applications for a Special Use of Park Areas or Park Facilities, and for temporary
              concession rights, shall be evaluated and construed as Special Use permit
              requests. Upon approval or issuance thereof, such use shall be considered as
              authorized by Special Use permit.

              (b)     PERMIT NOT REQUIRED, EXCEPTION
              Special Use permits shall not be required for Events, Activities, Programs or
              functions sponsored or co-sponsored by the Conservancy or by its
              concessionaires where the conduct of such functions or activities are permitted
              under any lawful contract or agreement.

       3.1.3 APPLICATION REQUIRED, DEFINED
       Persons, organizations or other entities requesting Special Use permits which pertain to
       licensed uses or which involve the congregation of twenty (20) or more people within a
       Park Area or Park Facility shall be required to complete a permit application.

       3.1.4 NATURE OF PERMITS
       The permit process shall evaluate requests for Special Use of Park, Park Areas, and/or
       Park Facilities with consideration for the provision or loss of basic recreational
       opportunities to the general public.

              (a)     NON-RESTRICTED USE PERMITS
              Non-Restricted Use permits shall include those Special Use permits issued for
              Events or other uses of the park where general public participation is a function of
              the intended Special Use, that do not involve commercial promotion or use, and
              where the Special Use does not prevent or curtail the general public from using
              any Area of the Park.




                                     Section 3, Page 1 of 6
 Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 22 of 30

SECTION 3 – SPECIAL USES                              DISCOVERY GREEN PARK RULES
                                                                              Effective July 17, 2014

           (b)     RESTRICTED USE PERMITS
           Restricted Use permits shall include those Special Use permits issued for a
           Restricted Use.

           (c)     LICENSED USE PERMIT
           An executed Venue License Agreement and payment of required Fees will
           constitute the permit for a Licensed Use as described in Section 3.2.

           (d)   PUBLIC GATHERINGS
           Any permits required for a Public Gathering are described in Section 3.3.

    3.1.5 EVALUATION OF PERMIT REQUESTS FOR SPECIAL USES GENERALLY
    Except for Public Gatherings (see Section 3.3), requests for Special Use permits, and any
    additional, special or extra privileges requested therein, shall be evaluated based on the
    following criteria:

           (a) The requested Park Area(s) and/or Park Facility(ies) or part thereof has been
           previously scheduled or reserved, or other Park Areas and/or Park Facilities have
           been previously scheduled for events or activities that could be impaired or harmed
           by the requested Special Use;

           (b) The compatibility of the requested Special Use with the design, function,
           amenities and purpose of the Park, Park Area(s) and/or Park Facility(ies) or part
           thereof;

           (c) The compatibility and relationship of the requested Special Use with the
           surrounding neighborhood or community;

           (d) The degree of impact of the requested Special Use upon Park, Park Area(s),
           Park Facility(ies) and appurtenances;

           (e) The extent to which the requested Special Use will interrupt the safe and
           orderly movement of traffic, or police, fire, ambulance or other emergency
           equipment on streets adjacent to the Park;

           (f) The degree to which the requested Special Use would be disruptive or promote
           disorderly conduct;

           (g) The degree to which the requested Special Use can be reasonably conducted
           without public safety or health hazard;

           (h) The requested Special Use does not violate any rules and regulations of the
           Conservancy, the Code of the City of Houston, or state or federal laws;

           (i) The past performance or non-performance of the requesting individual,
           company, organization or other applicant;

           (j) The ability of the requesting individual, company, organization or other applicant
           to meet any stipulations, instructions or orders pertaining to or required for the safe
           and orderly conduct of the function or requested Special Use;



                                  Section 3, Page 2 of 6
 Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 23 of 30

SECTION 3 – SPECIAL USES                             DISCOVERY GREEN PARK RULES
                                                                            Effective July 17, 2014

           (k) The financial and managerial ability to conduct the requested Special Use
           including the payment of any required User Fees and the provision of any required
           support services;

           (l) The ability of the Conservancy to provide services, staff or equipment
           necessary to support the request;

           (m) Overall, whether the requested Special Use is a Restricted Use, Non-
           Restricted Use or Licensed Use, and how such requested Special Use may have
           an adverse effect on the use of the Park, Park Area(s) and/or Park Facility(ies) by
           the public.

           (n) The Licensed Use of Park Areas and Park Facilities may be refused or
           scheduled for alternate dates and times, or the Licensed Use of alternate sites
           and/or additional stipulations may be required. The Conservancy may decline a
           venue license application because the designated area for this type of activity is
           already reserved even though other parts of the Park are not reserved.

    3.1.6 SPECIAL USE PERMIT A PRIVILEGE
    A Special Use permit granted by the Director is for a temporary and interruptible use of a
    Park, Park Area(s), Park Facility(ies) and/or part thereof. Such permit is a privilege
    granted by the Conservancy and not a right, and does not and shall not be construed to
    convey any legal or equitable interest whatsoever to the Park or part thereof.

    3.1.7 PERMIT NON-TRANSFERABLE
    A Special Use permit is issued in the applicant’s name as an individual or a representative
    or agent of a company, organization or other entity for a specific purpose, at the Park,
    Park Area(s), Park Facility(ies) or part thereof, and for or during a specific date(s) and
    times(s). Such permit cannot be assigned, sold, lent, leased or otherwise transferred even
    though the name of the applicant or name of the company, organization or other entity
    represented by the applicant may change.

    3.1.8 ERECTION/CONSTRUCTION OF PUBLIC WORKS OF ART
    No person shall erect or construct any temporary or permanent public works of art in the
    Park without first obtaining a Special Use permit authorized by the Director.

    3.1.9 YOUTH FUNCTIONS
    When a Special Use is for a Youth function, a minimum of one (1) adult chaperone for
    each ten (10) guests or fraction shall be required. Such chaperones must be present prior
    to opening the Park, Park Area(s) and/or Park Facility(ies) for the Event or Activity, and
    shall remain on the premises throughout the Licensed Usage period.

    3.1.10 PROVISION OF PEACE OFFICERS AND EMERGENCY PERSONNEL
    Any person, organization, or other entity using the Park, Park Areas, and/or Park Facilities
    under a Special Use Permit shall be responsible for the provision of peace officers and
    emergency medical personnel certified by the State of Texas and experienced in crowd
    control as follows:

           (a)   The following schedule shall be used to determine the number of certified
           peace officers based on the estimated attendance:

           0 – 100 Attendees      Peace officers optional

                                  Section 3, Page 3 of 6
   Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 24 of 30

 SECTION 3 – SPECIAL USES                             DISCOVERY GREEN PARK RULES
                                                                             Effective July 17, 2014

              101- 500 Attendees At least one officer
              501 – 1500 AttendeesAt least two officers
              1501+ Attendees     At least one officer per 500 attendees

              Required numbers above are doubled if alcohol is served at the Event except for
              those events occurring solely at the Anheuser-Busch Stage and Fondren
              Performance Space where the schedule above applies.
              Additional Officers may be required for Events with attendees who require special
              attention, Officer experience or security.


       (b)    The following schedule shall be used to determine the number of Traffic Officers:

                 0 – 1000 Guests: One Traffic Officer required for valet service for 100+ cars.
              1000 – 2000 Guests: Second Traffic Officer is required for valet service for 100+
                                   cars.
              2000+       Guests: One Traffic Officer per 1000 guests;
                                   plus a Traffic Officer for valet service for 100+ cars.
              10+ Concessionaires: One Traffic Officer per load-in point involving 10+
                                   concessionaires (more if multiple events).

       (c)    The following schedule shall be used to determine the number of emergency
              medical personnel based on the estimated attendance:

              0 - 1000 Attendees    Optional, but may be required if alcohol is being served to
                                    the general public
              1000+ Attendees       One EMS personnel per 1000 attendees

       3.1.11 FENCING AND BOND REQUIREMENTS
       Any person or organization using the Park or Park Facilities under a Special Use Permit
       may be required to do the following:

              (a)    Payment of a User Fee to the Conservancy for fencing to be installed during
              the Special Use in the event that the Conservancy determines that such a fence is
              necessary to protect Park Areas not designed and maintained to accommodate
              such Special Use;

              (b)     Provision of a bond payable to the Conservancy in an amount determined
              by the Conservancy in the event that the Conservancy determines that the Special
              Use may cause damage to Park lawns, gardens, pavements, Park Facilities or
              other appurtenances. The amount of the bond shall be based on the estimated
              attendance and type of Special Use, and the Conservancy shall have the right to
              adjust the amount of the bond if new information about the type of Special Use or
              the estimated attendance is revealed after an application is submitted.

3.2    LICENSED USES
Refers to the rules and guidelines governing Special Uses that are based on the Licensed Use of
the Park, Park Areas and/or Park Facilities.




                                    Section 3, Page 4 of 6
 Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 25 of 30

SECTION 3 – SPECIAL USES                             DISCOVERY GREEN PARK RULES
                                                                            Effective July 17, 2014

    3.2.1 LICENSED USE GENERALLY
    Licensed Use shall be provided as a means of expanding recreational, leisure, tourism,
    convention meeting, or other use opportunities of Park, Park Area(s) and/or Park
    Facility(ies) by permitting the Special Use thereof. Subject to the Park Rules and the
    payment of any required User Fees, such Licensed Use may be permitted for any lawful
    purpose.

    3.2.2 LICENSED USE AGREEMENT
    Even if a reservation has occurred and related User Fees paid, no Licensed Use may
    occur in the Park without an executed agreement (“Venue License Agreement”), which
    describes the location, schedule, character, Licensee and its subcontractors, Fees and
    the terms and conditions imposed on Licensee.

    3.2.3 CONFORMITY TO APPROPRIATE USE
    Licensed Uses shall conform to the design, function and designated use of Park, Park
    Area(s), Park Facility(ies) or part thereof. Such conformity to appropriate use shall be
    evaluated in determining both approved Licensed Use and any Fees required prior to such
    Licensed Use.

    3.2.4 VENUE LICENSE APPLICATION REQUIRED
    Persons, organizations or other entities requesting Licensed Use of the Park, Park Area(s)
    and/or Park Facility(ies) shall complete a Venue License Application and provide any
    information required thereon as may be prescribed by the Director. No Park Area and/or
    Park Facility reservation shall be considered effective until all appropriate Fees have been
    paid, the Venue License Agreement has been executed, and all required supporting
    documentation has been completed.

    3.2.5 LICENSE PERIOD DEFINED
    The Licensed Use period for the Park, Park Area(s) and/or Park Facility(ies) shall be
    inclusive of the total time required for set-up and completion of the licensed function or
    activity. A Licensed Use which exceeds the time period described in the Venue License
    Agreement shall be subject to any additional use charges provided therefor.

    3.2.6 VENUE LICENSE AGREEMENT REQUIRED
    On a date prior to the Licensed Use that is established by the Director, the licensee must
    execute a Venue License Agreement and provide all required supporting documents, User
    Fees, insurance policies, and any necessary additional approvals and/or permits. If the
    Venue License Agreement is not executed by the required date, the Director may cancel
    the reservation for the Licensed Use and retain any User Fees paid by the licensee.

    3.2.7 RESERVATIONS, USAGE PRIORITY
    Reservations shall be on a first come, first served basis, and no reservation shall be
    considered effective until any required Fees required for such reservation are paid and
    other requirements of the Venue Reservation Application are fulfilled.

    3.2.8 CANCELLATION OF LICENSED USE BY CONSERVANCY
    The Conservancy reserves the right to cancel and/or reschedule any Park, Park Area(s)
    and/or Park Facility(ies) Licensed Use for just cause upon due notice including any safety,
    health or weather emergency, or any inability of the Conservancy to fulfill the Venue
    License Agreement. Such cancellation by the Conservancy shall entitle the licensee to
    any rescheduling or refund privileges as outlined in these Park Rules.


                                  Section 3, Page 5 of 6
   Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 26 of 30

 SECTION 3 – SPECIAL USES                                  DISCOVERY GREEN PARK RULES
                                                                                   Effective July 17, 2014

       3.2.9   NOT USED

       3.2.10 LICENSED USE FOR YOUTH FUNCTIONS
       When a Licensed Use is for a Youth function, a minimum of one (1) adult chaperone for
       each ten (10) guests or fraction shall be required. Such chaperones must be present prior
       to opening the Park, Park Area(s) and/or Park Facility(ies) for the Event or Activity, and
       shall remain on the premises throughout the Licensed Use period.

       3.2.11 DESIGNATED LOCATIONS FOR LICENSED USES
       Because of the dense development of Discovery Green and its intense use by the general
       public, specific Park Areas and Park Facilities have been designated for Licensed Uses.
       The Conservancy may decline a Venue License application because the designated area
       for this type of activity is already reserved even though other parts of the Park are not
       reserved. See Exhibit 3.1 for designated Licensed Use areas.


3.3    PUBLIC GATHERINGS
Refers to the rules and guidelines governing Special Uses that are Public Gatherings within the
Park, Park Areas and/or Park Facilities.

       3.3.1 PUBLIC GATHERINGS GENERALLY
       Public Gatherings shall be accommodated within the Park in certain Park Area(s) that are
       improved and maintained to accommodate such activity as a Special Use.

       3.3.2 LOCATION OF PARK AREAS FOR PUBLIC GATHERINGS
       The Director shall maintain a map of Park Areas that are improved and maintained to
       accommodate Public Gatherings, and this map shall be filed and maintained for public
       inspection in the offices of the Director. A copy of this map and related rules and
       regulations shall be made available to any person at no cost upon written request filed at
       Conservancy headquarters. See Exhibit 3.2 for areas available for Public Gatherings.

       3.3.3 PRIORITY OF USAGE
       Use of any Park Area shall be on a first-come, first-served basis. The Director shall cause
       all completed applications to be immediately time-stamped upon their actual receipt by the
       Conservancy. The first in time shall be the first in right, provided that if two (2) applications
       are received simultaneously, then the precedence shall be determined by an impartial
       means of chance.

       3.3.4 NO PERMIT REQUIRED FOR PUBLIC GATHERINGS
       The Conservancy does not require a permit for Public Gatherings as defined in Section I
       of these Park Rules, and Public Gatherings may be held in the Park in areas shown in
       Exhibit 3.2. If permits are required in the future, this requirement shall be posted in a
       revision to these Park Rules.


                                            END OF SECTION




                                       Section 3, Page 6 of 6
Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 27 of 30
 SECTION 4 - FEES                     DISCOVERY GREEN PARK RULES
                                                                        Effective July 17, 2014



4.0    FEE ADMINISTRATION
Refers to the general Park Rules pertaining to Special Use fees, booking fees, deposits,
reservations and refunds (User Fees).

4.1      PARK USER FEES – GENERAL
Refers to the administration of User Fees for the use of the Park, Park Areas, Park
Facilities, and equipment, and participation in Conservancy-sponsored programs.

       4.1.1 USER FEES AND CHARGES GENERALLY
       No person shall participate or conduct any Special Use, secure any permit, or use
       any Park Area or Park Facility without first paying the applicable User Fees related
       thereto as may be established by the Conservancy.

       4.1.2 USE OF FEE SCHEDULES
       The User Fees established by the Conservancy for the use of Park Areas, Park
       Facilities, Programs and services shall be assembled into a fee schedule
       representing the category or type of fee authorized and any related guidelines, and
       shall denote the charge for such specified areas, uses or services. The fee
       schedule shall not specifically describe security deposits, which shall vary based
       on the specific location, duration, character of the Special Use along with any
       previous experience with the Special Use in question. The Conservancy may
       change User Fees from time to time, and in such cases, the Conservancy shall
       modify the fee schedule to reflect such change. See Exhibit 4.1.

       4.1.3 FEE SCHEDULE – EXCEPTION
       The fee schedule shall not be construed to apply to charges by concessionaires
       under contract, license or permit, or to Conservancy-sponsored or co-sponsored
       Programs and Events.

       4.1.4 DISCOUNTING OF FEES AND CHARGES
       The Director may from time to time authorize discounts of User Fees, special rates
       or other incentives to promote and encourage the use of the Park, Programs,
       and/or provide a tool for the marketing of such programs.          The Director is
       authorized to provide for a fifty percent (50%) discount to charitable Non-Profit
       organizations with operations in the Houston area that are organizing a Special
       Use that is open to the public without an admission charge to the Special Use Area
       or participation fee. This discount shall not apply to rental items and services.
       Discounts may also be granted to Programs, Events and Activities that restrict the
       public’s access to the Park Facility where the Special Use will occur for a period of
       time less than described in Exhibit 4.1.

       4.1.5 FEES ARE ADDITIVE
       The payment of any applicable User Fees listed in the fee schedule shall not serve
       to diminish or substitute for any User Fees applicable in a corresponding fee
       schedule. Unless otherwise specified herein, any and all applicable User Fees
       shall be additive in determining the total of such fees and charges due.

       4.1.7 PUBLIC INSPECTION OF FEE SCHEDULES REQUIRED
       A copy of the fee schedule shall be maintained for public inspection in the offices
       of the Director. A copy of such fee schedule shall be published by the Director and
       made available to any person upon request.




                                       Page 1 of 4
Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 28 of 30
 SECTION 4 - FEES                     DISCOVERY GREEN PARK RULES
                                                                       Effective July 17, 2014



      4.1.8 FEES CHARGED BY PARK USERS
      In the event a participation or admission fee to the general public is charged by
      any person for any Special Use, then there shall be no special fee paid to the
      Conservancy; however, the discount offered to certain organizations shall be
      modified as described in subparagraphs 4.1.18(b) and 4.1.8(c).

             (a)    APPROVAL OF THE DIRECTOR REQUIRED
             No person shall charge any participation or admission fee for any activity
             using a Park Area or Park Facility unless written permission therefore has
             been issued by the Director.         This provision shall not apply to
             concessionaires operating under contract with the Conservancy or to fees
             charged for Conservancy-sponsored programs, activities or events.

             (b)    DISCOUNT FOR SPECIAL USES THAT CHARGE AN
             ADMISSION FEE
              The Director is authorized to provide for a twenty-five percent (25%)
             discount to charitable Non-Profit organizations with operations in the
             Houston area that are organizing a Special Use that is open to the public
             with an admission charge to the Special Use Area (venue license area).
             This discount shall not apply to calculation of the security deposit, rental
             items and services.

             (c)    DISCOUNT FOR SPECIAL USES THAT CHARGE A
             PARTICIPATION FEE
             The Director is authorized to provide for a forty percent (40%) discount to
             charitable Non-Profit organizations with operations in the Houston area that
             are organizing a Special Use that is open to the public with A participation
             fee and no admission charge to the Special Use Area. This discount shall
             not apply to calculation of the security deposit, rental items and services. .

      4.1.9 VOLUNTARY CONTRIBUTIONS
      Voluntary contributions may be taken-up in connection with a permitted Special
      Use, whether conducted or sponsored by the Conservancy or not, without
      accounting or payment therefore to the Conservancy. The acceptance of any such
      contributions must have prior approval of the Director, be wholly voluntary, and
      shall not be imposed, solicited or requested as a condition of admission to or
      participation in the facility used, function conducted, or for the provision of any
      goods or services.

      4.1.10 METHOD OF PAYING FEES AND CHARGES
      Fees and charges due to the Conservancy may be paid by cashiers check, money
      order, credit card or cash.

      4.1.11 PERMIT REQUESTS, APPLICATIONS TO BE SIGNED BY AN ADULT
      All applications and/or Special Use permit requests shall be signed and/or
      executed by an adult. Youth registrations for programs shall require the approval
      signature of the Youth's parent or guardian.

continued




                                      Page 2 of 4
Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 29 of 30
 SECTION 4 - FEES                     DISCOVERY GREEN PARK RULES
                                                                         Effective July 17, 2014



4.2   REFUNDS

      4.2.1 REFUND GENERALLY
      The Conservancy shall consider the refund of User Fees paid for the use of Park
      Facilities and equipment subject only to the rules and guidelines prescribed herein.

      4.2.2 REFUND REQUESTS TO BE IN WRITING, PROCESSING                       THEREOF
      All requests for refunds shall be in writing, state the reason the refund is being
      requested, be dated, and include the address, name and signature of the
      requesting party. Refund requests may be made in person at the offices of the
      Conservancy (1500 McKinney, Houston, Texas 77010) during normal operating
      hours, or by mail to the same address. Refunds will be submitted for processing
      on the form prescribed by the Director, and may require a normal processing
      period of three (3) to six (6) weeks. No refunds shall be given in cash.

      4.2.3     REFUND OF PUBLIC GATHERING, RESTRICTED AND NON-
      RESTICTED USE PERMIT FEES
      A full refund of User Fees shall be made provided that a cancellation request is
      received at least seven (7) business days prior to the starting date of the Public
      Gathering, Restricted or Non-Restricted Use. Cancellation requests made less
      than seven (7) business days prior to such starting date shall be subject to a ten
      percent (10%) service charge. No refunds shall be authorized for cancellations
      requested on or after the starting date, or for any inability of a permitee to arrive at
      or otherwise utilize the parks and/or facilities on such starting date.

             (a)      INCLEMENT WEATHER, RAIN DATE
             In cases where a Special Use may be directly impacted by rain or similar
             weather conditions, a rain date may be scheduled at the time the Permit is
             requested. The purpose of the rain date is to facilitate the postponement
             and automatic rescheduling of the permitted Special Use without penalty,
             provided the Conservancy is notified of such intent prior to the starting date
             and no usage occurred after such notification. The calling-off or
             postponement of a Special Use shall be the responsibility of the permitee,
             and it shall be presumed that the Park Facilities were utilized should
             notification not be received. Any cancellation of a Special Use after a call-
             off for rain shall be subject to normal refund policies.

      4.2.4 REFUND OF LICENSED USE FEES
      A refund of the Licensed Use Fees less a twenty percent (20%) booking fee shall
      be made provided that a cancellation request is received at least sixty (60)
      business days prior to the starting date of the Licensed Use. Permitees who cancel
      less than sixty (60) business days prior to the date of a Licensed Use shall not be
      due any refund except for any User Fees paid for rental equipment, services and
      the Security Deposit. No refunds shall be authorized for cancellations requested
      on or after the starting date, or for any inability of a permitee to arrive at or
      otherwise utilize the Park Facility(ies) on such starting date.

             (a)    INCLEMENT WEATHER, RAIN DATE
             In the case of rain or other inclement weather, the licensee/permitee is
             responsible for arrangements necessary to avoid cancellation of the Event.
             A back-up plan to include additional tenting, valet parking or rain location
             is the responsibility of the licensee. In order to protect turf and other
             Discovery Green facilities, it will be at the sole discretion of the
             Conservancy whether the Licensed Use will be cancelled due to weather

                                       Page 3 of 4
Case 4:23-cv-03556 Document 41-5 Filed on 12/27/23 in TXSD Page 30 of 30
 SECTION 4 - FEES                     DISCOVERY GREEN PARK RULES
                                                                      Effective July 17, 2014



             conditions. If the Conservancy prevents the occurrence of the Event
             because of inclement weather conditions, the licensee may at that time
             select an alternate date if a date is available on the Conservancy's
             programming calendar. The Conservancy will not be held liable for
             cancellation of a Licensed Use due to rain, act of God, terrorism, other
             natural disaster or any other cause not within the control of the
             Conservancy and will not refund the Licensed Use Fee; however, other
             charges for costs not incurred, including the security deposit and other
             Fees and charges that were to be paid to the Conservancy will not be
             charged and/or will be returned.

      4.2.5 SPECIAL USE, TEMPORARY CONCESSION FEES NON-REFUNDABLE
      Temporary concession license, permit and/or filing fees shall be considered a cost
      of doing business and are non-refundable.

      4.2.6 REFUND, RESCHEDULING AT CONSERVANCY’S FAULT
      Should a Park Facility be unusable at the start of a license or permit period due to
      a lock-out, cancellation or other fault of the Conservancy, then a full refund shall
      be made or the use period rescheduled at the users request.


                                      END OF SECTION




                                      Page 4 of 4
